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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY, ET
AL.
             Plaintiffs,
v.
                                               CASE NO. 1:21-cv-00119 (RDM)
U.S. ENVIRONMENTAL PROTECTION
AGENCY, ET AL.
              Defendants,
STATE OF FLORIDA, ET AL.
              Intervenors.


                             ______________________________

   STATE OF FLORIDA AND FLORIDA DEPARTMENT OF ENVIRONMENTAL
 PROTECTION’S OPPOSITION TO MOTION FOR A TEMPORARY RESTRAINING
                ORDER AND PRELIMINARY INJUNCTION
                    ______________________________
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                                         INTRODUCTION

       The State of Florida and the Florida Department of Environmental Protection (FDEP)

(collectively, “Florida Intervenors”) oppose the motion for a temporary restraining order and

preliminary injunction (Motion) filed by Sierra Club and Center for Biological Diversity

(collectively, “Movants”). This Court should reject Movants’ attempt to cut short ongoing agency

review processes for two permit applications: the “Bellmar Villages Project” (which has been

under review by FDEP since late 2020) and the “Kingston Project” (which has been under review

by FDEP since 2022).

       The Motion is an improper attempt to force this Court to adjudicate state-administered

Clean Water Act (CWA) permits, which is contrary to D.C. Circuit precedent. State permit actions

are not subject to review under the federal Administrative Procedure Act (APA). It is also an

improper attempt to force this Court to preliminarily block federal approval of Florida’s CWA

Section 404 Program several years after that action was fully implemented, which too is contrary

to D.C. Circuit precedent. In early 2021, just a few days after filing the Complaint, Plaintiffs urged

the Environmental Protection Agency (EPA) to “stay” its approval of Florida’s program. Dkt. 31-

1 at 107. They never asked this Court for that relief, until now, when it is clearly too late.1

       Movants assume that FDEP will issue final permits for these two projects without terms

and conditions necessary to avoid jeopardizing the continued existence of the Florida panther, the

Audubon’s crested caracara, or other relevant species or adversely modifying their designated

critical habitat. They do not have a crystal ball. Movants (and many others) have submitted

comments to FDEP as part of the permit process, and FDEP is still reviewing those comments.

1
 Florida Intervenors are filing two declarations with this response: Exhibit A, which is a
Declaration of Justin Wolfe as FDEP General Counsel (herein, “Wolfe Decl.”); and Exhibit B,
which is the Declaration of Mary Duncan, who holds the Threatened and Endangered Species
Coordination role for FDEP (herein, “Duncan Decl.”).


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But even if FDEP proposed permits for these two projects that, in Movants’ opinion, lack adequate

species protections, those claims should not be interjected into this Court given EPA’s oversight

role as well as opportunities for administrative appeals and judicial review in Florida.2

       Moreover, the Motion is devoid of any case law supporting issuance of preliminary

injunctions targeting state permit actions under state law. D.C. Circuit precedent forbids district

courts from entertaining direct challenges to state CWA permits. District of Columbia v. Schramm,

631 F.2d 854, 863 (D.C. Cir.1980). That precedent is correct. Congress expressly invited the states

to assume administration of the Section 404 Program in recognition of the primary role of states

over water resources, and as such, Congress never intended for federal courts to take the kind of

extraordinary steps sought by Movants here. That is especially true when, over three years ago,

EPA approved Florida’s 404 program and that program is now firmly established. Time and time

again, Plaintiffs chose not to pursue preliminary relief at the outset of this litigation or any other

earlier phase of this case, and it is much too late to provide preliminary relief now. Likewise, their

refusal to first exhaust administrative remedies and other state-based judicial remedies is a

puzzling waste of this Court’s time. The mere filing of the administrative appeal in Florida would

forestall final agency action on a permit application.

       To be clear, Florida Intervenors are not taking a position at this time on the merits of these

two pending permit applications. Agencies cannot prejudge the merits of a pending permit

application. These applications remain in the permit process and will be subject to additional

review by FDEP, EPA, United States Fish & Wildlife Service (FWS), and the Florida Fish &

Wildlife Conservation Commission (FWC) before a final decision is made about whether a permit

2
 Movants attempt to evade normal state review by jettisoning five of their fellow Plaintiffs, who
are “citizens of Florida.” They do so only for the limited purpose of this Motion. Plaintiffs should
not be allowed to play such games. All seven Plaintiffs brought this lawsuit together in one
complaint and non-citizens can demonstrate standing in Florida.


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will be issued. Wolfe Decl. ¶ 40 (Ex. A). Instead of defending the merits of these projects, Florida

Intervenors oppose the Motion because it interferes with FDEP’s legal duty to render permit

decisions in the normal course. FDEP is committed to making a timely decision on these permits

consistent with applicable laws and regulations.

        Nevertheless, as more fully explained herein, this Court cannot grant Movants’ requested

extraordinary relief unless the Court first finds in favor of Movants on a host of jurisdictional and

other issues. Specifically, as to jurisdictional issues, the Court would need to find that it has

jurisdiction to: (1) review the claims in the Amended Complaint that underlie the Motion;3 (2)

impose an injunction upon Florida Intervenors when the Amended Complaint does not challenge

FDEP actions related to any state permit applications; and (3) adjudicate state permit applications

notwithstanding that (a) state CWA permits are not subject to federal judicial review; (b) these two

permit applications are still in the state permit process with no underlying administrative record

before this Court; and (c) state administrative and judicial review processes are available for these

permit actions. Movants cannot prevail on any of these jurisdictional points (let alone all of them).

        Likewise, before granting such extraordinary relief, this Court would need to find in favor

of Movants across the waterfront of legal and factual issues necessary for obtaining a preliminary

injunction. Again, Movants cannot prevail on any of these points (let alone all of them). As to the

merits, Plaintiffs are not likely to prevail on the specific legal claims that underlie the Motion (as

extensive briefing by Federal Defendants and Florida Intervenors have already demonstrated).

Movants’ request for relief – targeted at two specific projects – would not be available relief even

3
  Florida Intervenors have explained, claim-by-claim, why Plaintiffs lack standing in this case.
Dkt. 102 at 37-51; Dkt. 107 at 10-25. All of those arguments are incorporated by reference here.
To have standing for this Motion, Movants must demonstrate standing for the underlying claims
(i.e., those claims in this case that form the basis of the need for preliminary relief) as well as injury
arising from the specific projects they challenge as part of the Motion. See W. Watersheds Project
v. Bernhardt, 468 F. Supp. 3d 29, 41 (D.D.C. 2020). They have done neither.


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if Movants were found to be successful on the merits of specific claims in the Amended Complaint

underlying the Motion. A plaintiff cannot receive interim relief that goes far beyond what it should

achieve after prevailing on the merits. As importantly, the Programmatic Biological Opinion and

Incidental Take Statement, which establishes the Technical Assistance Process employed for these

permits, resulted from the Supreme Court’s instructions concerning Section 7 consultation for EPA

programs, and is supported by the Second Circuit’s ruling in an analogous context.

       As to irreparable harm, no such harm exists where: (a) FDEP has not yet issued permits

with specific terms and conditions; (b) the species review process involves the same agencies

reviewing the same information using the same legal standards as under the permit process led by

the Corps of Engineers (Corps); and (c) FDEP must adopt all FWS-imposed terms and conditions

for the protection of species.

       As to the equities and public interest, those weigh heavily against Movants particularly

where Congress has expressly invited states to assume administration of this program in

recognition of the primary role of the states over water resources. Likewise, “preliminary” relief

is not available where, after tremendous expenditures and efforts by the State of Florida and other

stakeholders, the challenged program has been fully implemented for almost three years, with over

9,000 permit applications filed and hundreds of individual permits issued and denied by FDEP.4

       Thus, because Movants have not met the requirements for a preliminary injunction, Winter

v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008), this Court should deny the

Motion and allow the State of Florida to continue the permit processes for the Bellmar Villages

Project and the Kingston Project consistent with applicable laws and regulations. The appropriate


4
  See Sugar Cane Growers Co-op. of Fla. v. Veneman, 289 F.3d 89, 97 (D.C. Cir. 2002) (declining
to vacate agency program where the “egg has been scrambled and there is no apparent way to
restore the status quo ante”).


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course of action for Movants is to withdraw this improper Motion and focus their efforts on the

ongoing state agency permit process where they already filed comments. If FDEP proposes a

permit that Movants oppose, an administrative hearing can be requested. If, after that hearing,

FDEP enters a final order issuing an objectionable permit, judicial review can be sought in Florida

state courts.

                             LEGAL & FACTUAL BACKGROUND

I.      Litigation History

        Plaintiffs filed their original nine-count complaint in this matter almost three years ago, on

January 14, 2021, challenging EPA’s approval of Florida’s application to assume the CWA Section

404 dredge-and-fill permit program, which became effective on December 22, 2020. Claims 3

through 6, which are most relevant to this Motion, allege violations of the Endangered Species Act

(ESA) or CWA related to the FWS’s Biological Opinion and Incidental Take Statement, among

other things. Claim 2, which is also relevant here, alleges that EPA’s approval of Florida’s program

violates the CWA because, among other things, standing under state law is more restrictive than

federal law. The State of Florida and FDEP intervened to defend EPA’s approval of Florida’s

program application. Dkt. 4; Feb. 1, 2021 Minute Order.

        Just days after filing their complaint, Plaintiffs claimed in a January 20, 2021 letter to EPA

that “[i]f expedited relief is not granted [in this matter], Plaintiffs … are likely to suffer irreparable

harm” and expressly complained about purported harm they would incur if “the state unlawfully

administers this program.” Dkt. 31-1 at 107. At that time, Plaintiffs argued that they are “likely to

succeed on the merits,” and for that request, they “focus[ed] on two, critical violations” (Dkt. 31-

1 at 111), including the species-based arguments that are at the center of Movants’ current TRO

request. Dkt. 31-1 at 111 (alleging that Florida’s program fails to ensure “no jeopardy” and relies

on an unlawful “programmatic biological opinion and incidental take statement”); see also id at


                                                    5
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121-23 (“Absent preliminary relief, Plaintiffs are likely to suffer irreparable harm before the

conclusion of this litigation,” including from Florida’s “unlawful operation of the state 404

program… [FDEP] is currently considering permits that are reasonably expected to fill precious

wetlands that serve as habitat for threatened and endangered species, and their issuance is

imminent.”).   And they sought to show, based on all four factors, why EPA should stay

implementation of Florida’s 404 program. Id. In a January 29, 2021 notice, Plaintiffs argued that

they will be “harmed by EPA’s immediate authorization of an unlawful state program that will

issue permits to destroy wetlands essential to protected species …” Dkt. 21 at 1, 6.

       Despite these statements, Plaintiffs only formally sought such relief from EPA, which never

granted a stay. Crucially, Plaintiffs made a conscious decision not to request preliminary relief

from this Court when they filed their complaint on January 14, 2021. Nor did they do so after the

February 17, 2021 hearing regarding its pre-motion conference to bifurcate, or when Federal

Defendants confirmed that the Corps transferred all permit files for projects in assumable waters

to FDEP. And they did not seek a stay when FDEP confirmed that hundreds of newly trained

employees were reviewing and processing applications consistent with state regulations and the

federal requirements (Dkt. 40 at 23) or any subsequent time during the litigation until now, some

three years after Florida began administering the 404 program.

       Instead of seeking a judicial stay, Plaintiffs chose a different, non-traditional path. On

January 29, 2021, they asked this Court to bifurcate non-ESA Claims 8 and 9 and proceed to

dispositive briefing on those claims first. Federal Defendants and Florida Intervenors objected and

asked the Court to resolve all claims through cross-motions on a typical schedule for an APA

record review case. Dkt. 22-23. The Court granted Plaintiffs’ requested path and issued a briefing

schedule for Claims 8 and 9, which resulted in extensive briefing by the parties and a hearing in




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March 2022. Dkt. 31, 34-37, 43-48, 51-57, 59-60, 65-72. On March 30, 2022, this Court rejected

Count Nine and ordered further briefing on Count Eight. Dkt. 73. The Court eventually dismissed

Count Eight for lack of standing as well.

       In April 2022, the Court granted Plaintiffs’ motion to file an amended complaint that

included Claims 10 to 13, which added other species-based claims to this case. Dkt. 77 at 49-56.

At the same time, this Court set a schedule for lodging the administrative record and filing cross-

motions for summary judgment on all remaining claims, which was amended several times by the

parties (including supplemental briefing and declarations) and briefing was eventually completed

by October 12, 2023. Dkt. 98-108, 111-12, 114, 119, 121, 123, 125-26. A hearing on the summary

judgment motions occurred on October 19, 2023, with additional post-hearing supplemental

briefing occurring in October and November 2023. Dkt. 130, 133-34. At no time up to that point

did Plaintiffs seek preliminary relief of any kind.5

       On December 4, 2023, two of seven Plaintiffs filed the present Motion to enjoin FDEP and

EPA from completing the permit process for the Bellmar and Kingston projects. Dkt. 135.

Specifically, Movants asked this Court to enter Proposed Orders (Dkt. 135-11 and Dkt. 135-12)

that would enjoin FDEP from “further action in furtherance of issuing state 404 permits for the

Bellmar and Kingston projects” and “issuing state 404 permits for the Bellmar and Kingston

projects.” Movants also seek an order enjoining EPA and FWS from “further action in furtherance

of issuing state 404 permits for the Bellmar and Kingston projects” and enjoining EPA “from

waiving its authority over, or otherwise allowing the issuance of, state 404 permits for these

projects.” Dkt. 135-11 and Dkt. 135-12.



5
 This Court has also previously noted that Plaintiffs could have sought emergency relief long ago,
but did not. See, e.g., Dkt. 88 at 52; Dkt. 119 at 19-20.


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II.    Implementation Of Florida’s 404 Program And Species Review Process

       Florida Intervenors’ prior briefs recount the state’s extensive work over of the course of

several years to prepare and apply for assumption of the Section 404 permit program along with

the key provisions of the program. Dkt. 37 at 20-37; Dkt. 102 at 14-36. FDEP began implementing

the program after EPA approval in December 2020. As of the end of December 2023, FDEP has

completely stood up its comprehensive regulatory program, trained over 300 certified wetlands

evaluators and other staff, and received approximately 9,300 permit applications for individual

permits, coverage under general or regional permits, and NPR determinations. Wolfe Decl. ¶¶ 12-

13. This includes approximately 400 individual permit applications for projects in assumable

waters that were transferred by the Corps to FDEP in the early weeks of program. Wolfe Decl. ¶

11. Of the applications received so far by FDEP, over 3,600 have been withdrawn, often based on

requests by the state for more information or other concerns. To date, FDEP has issued

approximately 703 individual 404 permits (including modifications) and denied approximately

302 applications (including individual, regional/general, and NPR requests). Wolfe Decl. ¶ 13.

       A.     Origins Of The Consultation Approach Used In Florida

       The species review process, which is at the center of the Motion, originates with EPA’s

correct decision, following a notice and comment process, to initiate Section 7 programmatic

consultation when reviewing whether to approve Florida’s Section 404 Program. Dkt. 99 at 29-33;

Dkt. 102 at 21-27. 6 That path was required under National Association of Home Builders v.

Defenders of Wildlife, where the Supreme Court explained that EPA must consult with the Services


6
  See 85 Fed. Reg. 30953 (May 21, 2020); see also 85 Fed. Reg. 57853, 57856 (Sept. 16, 2020)
(explaining EPA decision to initiate ESA Section 7 consultation in accordance with EPA
memorandum dated August 27, 2020, which is available in the Administrative Record at EPA-
HQ-OW-2018-0640-0660-A1). Section 404 of the CWA gives EPA discretion to consider impacts
to species when evaluating state 404 programs. Id.


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under Section 7 if EPA has discretion to consider impacts to listed species when deciding whether

to approve a state environmental program. 551 U.S. 644, 671-73 (2007) (explaining that

“[n]othing in the text of Section 402(b) authorizes EPA to consider the protection of threatened or

endangered species as an end in itself when evaluating a transfer application [for a state NPDES

permit program”). As EPA fully explained, Section 404 (unlike Section 402) “provides authority

for EPA to consult and consider protection of listed species in the approval decision” for a state

program. EPA-HQ-OW-2018-0640-0660-A1 at 6. EPA’s decision reflected careful consideration

of the statutory text, the legislative history, as well as the Supreme Court’s opinion in NAHB. Id.

at 4-6.

          That path also aligns with FWS’s determination in 1993 when, after deciding to conduct

informal consultation for approval of New Jersey’s Section 404 Program, FWS stated that “future

consultations on state assumptions will be conducted as programmatic formal consultations…”7

In Florida’s situation, where the state is home to over 130 listed species and over 12,000 square

miles of water area, there can be no doubt that EPA properly determined that formal consultation

was the correct path. Plaintiffs have not challenged EPA’s decision to initiate ESA formal

consultation when approving Florida’s program.

          EPA employed the same process when adopting a permit program governing cooling water

intake structures implemented at the state level, which was upheld by the Second Circuit against

challenges nearly identical to the ones brought here. See Cooling Water Intake Structure Coal. v.

EPA, 898 F.3d 173 (2d Cir. 2018), amended, 905 F.3d 49, 72-78 (2d Cir. 2018) (rejecting

environmental challenge to FWS’s use of “programmatic” biological opinion where it extended

incidental take coverage via a technical assistance process to permittees under state programs).

7
 See Letter from FWS Regional Director to EPA Acting Regional Administrator at 1 (Dec. 22,
1993), available at https://www.fws.gov/sites/default/files/documents/MOAUSFWS.pdf.


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The programmatic BiOp with Incidental Take Statement (ITS) at issue in Cooling Water Intake

Structure was a model for the FWS’s programmatic approach here. EPA-HQ-OW-2018-0640-

0568 at 101-02 (EPA Response to Comments).

       As part of a “programmatic consultation” process, FWS concurred that the action of

approving Florida’s program was “likely to adversely affect” listed species, which supported

FWS’s decision to prepare a Programmatic BiOp and, in light of FWS’s “no jeopardy” finding,

FWS adopted an ITS. This was consistent with longstanding agency practices, the Supreme

Court’s instructions concerning Section 7 consultation for EPA programs, the Second Circuit’s

ruling in an analogous context, as well as the plain text of ESA Section 7. Thus, EPA and FWS

were on firm ground.

       The textual argument is straight-forward. ESA Section 7(a)(2) applies to “any action

authorized” by a federal agency, 16 U.S.C. § 1536(a)(2), which encompasses EPA’s approval of a

state program. Where the action will not jeopardize listed species or adversely modify critical

habitat, Section 7(b)(4) provides that FWS “shall provide” a written incidental take statement to

not just “the Federal agency,” but also to “the applicant concerned, if any,” 16 U.S.C. §

1536(b)(4)(C), which includes FDEP as the applicant for EPA approval of a Section 404 program.

That written statement must, among other things, “set[] forth the terms and conditions (including,

but not limited to, reporting requirements) that must be complied with by the Federal agency or

applicant (if any), or both…” Id. § 1536(b)(4)(C)(iv). Third, Section 7(o)(2) provides incidental

take coverage in broad fashion for “any taking” resulting from that action so long as it “is in

compliance with the terms and conditions specified in [FWS’s] written statement …” Id. §

1536(o)(2). Plaintiffs have suggested that only ESA Section 10’s Incidental Take Permit process

(found at 16 U.S.C. § 1539(a)(1)(b)) applies to such actions, but that view is not supported by the




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ESA. Section 1539(a)(1)(b) provides that FWS “may” issue a permit for any incidental taking

prohibited under Section 1538(a)(1)(B), but Section 1536(o)(2) clearly exempts incidental take in

compliance with Section 7 from the prohibitions of § 1538(a)(1)(B). See 50 C.F.R. § 402.14(i)(5);

see also EPA-HQ-OW-2018-0640-0660-A1 at 6-7 (explaining why incidental take coverage

extends to state permittees in this context).

       B.      Technical Assistance Process In The Florida-Led Process

       As previously briefed, the species review process under the Florida-led program was

comprehensively described in the program application including (among other places) in the MOU

entered between , FWC, and FDEP (EPA-HQ-OW-2018-0640-0016-A2); and in the Florida 404

Handbook (HQ-OW-2018-0640-0002-A20 at 6, 23-24). Ultimately, this process was integrated

with the Technical Assistance Process established in the Programmatic BiOp and its ITS. FWS,

FWC, and FDEP must and do participate in the species review process as part of the Florida 404

program. See Dkt. 127-1 at 3-4 (reciting obligations to participate in species review process).

Importantly, for Florida 404 permits, FWS’s conclusions regarding potential species impacts and

necessary measures to address those impacts are “determinative.” Dkt. 102 at 23-24. And incidental

take, if any, is not authorized if a permittee fails to comply with all of those measures. See BiOp

(EPA-HQ-OW-2018-0640-0642) at 70. Importantly, this process provides early ESA coordination

engagement for all State 404 Program general and individual permit applications. Wolfe Decl. ¶

16. The MOU describes the roles, responsibilities, and commitments of each agency in

implementing the State 404 Program. Id. ¶ 17. Coordination procedures are further outlined in Fla.

Admin. Code R. 62-331, and in the FWS’s Programmatic Biological Opinion. Id.

       These procedures ensure that endangered and threatened federally listed species and their

critical habitats are protected as an integral part of the State 404 Program. FDEP’s regulations

expressly provide that no Section 404 permit will be issued when the project “[j]eopardizes the


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continued existence of endangered or threatened species, or results in the likelihood of destruction

or adverse modification of [designated critical] habitat…” Fla. Admin. Code R. 62-331.053(3)(a)4.

Compliance is also “required” for “any requirements” set by FWC, FWS, and NMFS during the

technical assistance process “for permits reviewed under the State 404 Program.” Florida 404

Handbook (HQ-OW-2018-0640-0002-A20) at 1.3.3; see also id. at 5.2.3. In accordance with the

requirements for the Technical Assistance Process as set forth in the Programmatic Biological

Opinion, FWS must use the best available data when making species-related determinations. EPA-

HQ-OW-2018-0640-0642 at iv; see also Dkt. 99 at 69. The Programmatic Biological Opinion

defines “best available data” as “data to assure the quality of the science used to establish official

positions, decisions, and actions taken by the State of Florida during the review of State 404

program permit applications, the quality of the biological, ecological, technical, and other relevant

information that is used will only be that which is reliable, credible and represents the best data

available. Under Section 7(a)(2) of the ESA, the USFWS is required to use the best available

science.” EPA-HQ-OW-2018-0640-0642 at iv.

       In accordance with these processes, both FWS and FWC review a proposed project’s

effects on listed species before a permit is issued. Wolfe Decl. ¶ 19. The outcomes of the effect

determinations are incorporated into the State 404 Program permit file and included in the public

notice. Id. The coordination efforts result in a combination of determinations identifying projects

as either “no effect” or “may affect.” Id. Projects that are determined to be in the “may affect”

category are further identified as either “likely” or “not likely to adversely affect,” and a

determination of jeopardy is made (jeopardy or no jeopardy). For example, a determination of

“may affect, likely to adversely affect” for a listed species indicates anticipated incidental take and

requires additional review by FWS. Id. If adequate protection measures are available, FWS’s final




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conclusion would be “no jeopardy” or “may affect, not likely to adversely affect.” Id. If FWS’s

final conclusion is that the activities allowed by a potential permit will “jeopardize the continued

existence of a species,” and no protection measures are available to address the adverse impacts,

the permit would not be issued pursuant to the ESA and Fla. Admin. Code R. 62-33.053(3)(a) 4,

62-331.201(3)(k), and 62-331.248(3)(j).

       C.      Comparability Of Species Protections Under The Corps-Led And Florida-Led
               Programs

       Consistent with the terms of the Programmatic BiOp, the process for issuing FDEP 404

permits ensures that FWS (and NMFS, where involved) reviews the same species-related

information using the same legal standards as in the Corps-led 404 program. See Ex. C

(Comparison of Species Review Process in Corps-led and Florida-led Section 404 Programs). In

particular, the same legal standards are used in both processes with the action agency (Corps or

FDEP conferring with the species agencies) to evaluate whether (1) as an initial matter, a project

“may affect” listed species or critical habitat; (2) a permit “may affect” but “is not likely to

adversely affect” listed species or critical habitat; or (3) a permit is “likely to adversely affect”

listed species or critical habitat, in which case a more formal consultation review ensues to obtain

an opinion from the species agencies whether the permit is likely to jeopardize the continued

existence of” listed species or “adversely modify” designated “critical habitat.” Id; see also Wolfe

Decl. ¶ 19. The same standards are then used to evaluate jeopardy and adverse modification, as

well as to address “incidental take.” Id; see also Wolfe Decl. ¶ 19.

       Significantly, the Florida-led process ensures even more protection for species and even

more public involvement than the Corps-led process for at least three reasons: (A) FDEP must

incorporate all FWS measures, terms, and conditions into the Section 404 permit (whereas the

Corps may do so for their permits); (B) FDEP must deny a permit if FWS, NMFS, or FWC finds



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no protection measures are available to reduce the risk of jeopardy to an acceptable level (whereas

the Corps may decide to issue a permit in such circumstances); and (C) the public has full access

to review and comment on all species-related information before FDEP makes a final

determination on the permit, which allows for FDEP, EPA, and the permit applicant to consider

and respond to those concerns including with project and/or permit changes as warranted (whereas

there is no right of public review and comment on the Biological Opinion/ITS under the Corps-led

process). Wolfe Decl. ¶ 43. In most instances, the volume of species-related information available

to the public for review and comment as part of the Florida 404 permitting process is substantially

greater than under the Corps-led program. Wolfe Decl. ¶ 44.

       Likewise, as part of the FDEP 404 process, FDEP prepares a “Technical Staff Report” to

“document how the project addresses the requirements” set forth in Florida’s Section 404

regulations (including the “no jeopardy” requirements found in Rule 62-331.053). See Florida 404

Handbook (HQ-OW-2018-0640-0002-A20) at 8.2(j) (describing the “Technical Staff Report”).

FDEP must also “[m]ake and document a finding of either compliance or noncompliance with the

requirements” of Florida’s Section 404 regulations (again, including the “no jeopardy”

requirements found in Rule 62-331.053). Id. at 8.2(k) (explaining that this is a “determination of

whether the project, including any mitigation, is permittable under the State 404 Program”).

Finally, FDEP must “[p]repare a written determination on each application outlining the permitting

decision and the rationale for the decision,” which must be “included in the official record prior to

final action on the application” along with a copy of the Technical Staff Report. Id. at 8.2(l).

       D.      Florida’s Track Record Of Successful Species Protection Efforts

       After almost three years of full program implementation, Florida has a record of successful

implementation of the species-protection requirements applicable to Florida’s Section 404

Program. For example, during the July 2022 to June 2023 time period, 115 permit applications for


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Section 404 permits showed reasonable potential for affecting federally listed species. Wolfe Decl.

¶ 22. Those applications were reviewed by FWC and FWS, and appropriate conditions were

included in the permits to ensure protection of species. Id. Likewise, during the July 2022-June

2023 time period, the species review process involved approximately 500 species-specific “effect”

determinations involving over 30 listed species. Id. Again, those applications were reviewed by

FWC and FWS, and appropriate conditions were included in the permits to ensure protection of

species. Id.

III.    Florida’s Efforts To Conserve The Florida Panther And Crested Caracara

        Movants seek emergency relief based on concerns of potential impacts to two species: the

Florida panther and the crested caracara. Both species are highly protected under the Florida ESA

and the Federal ESA. See Fla. Admin. Code R. 68A-27.003(1)(b) (listing both of these species and

providing that they “shall be afforded the protection afforded under [FWC] rules and Florida

Statutes and under the Federal [ESA]…”).8

        A.     Florida Panther

        The State of Florida is protecting, conserving, and recovering Florida panther populations

and has been for over a half century. Duncan Decl. ¶ 12 (Ex. B). Almost 15 years before enactment

of the federal ESA, FWC (then known as the Florida Game and Fresh Water Fish Commission)

declared the Florida panther to be an endangered species protected under Florida law in 1958.

Federal law has protected the Florida panther since 1967. The State of Florida has focused

enormous efforts on conservation benefitting the Florida panther, including establishing a Florida

Panther Protection Program, mapping suitable habitats, conducting population survey work,


8
 No critical habitat has been designated for the Florida panther or the Audubon’s crested caracara.
Thus, “adverse modification” of critical habitat under Section 7(a)(2) of the ESA is not a relevant
basis for an injunction.


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working to develop greater habitat connectivity through construction of new wildlife crossings,

development of additional scientific information to better understand the threats and opportunities

for panther populations, and educating the public. Id. ¶ 17. A variety of additional measures are

described in the most recent FWC “Annual Report on the Research and Management of Florida

Panthers: 2022-2023” and the “Species Status Assessment for the Florida Panther,” which are

attached to the Duncan Declaration. Id. ¶¶ 15-16.

        In the early 1990s, the number of individual Florida panthers remaining in the wild was

estimated at 20 to 30 individuals. Id. Attach. A at v, 76. According to most recent estimates, the

current panther population size is estimated to be within the range of 120 to 230 individuals. Id. ¶

13. The population is now “at least 5-fold larger in size when compared to the population three

decades ago, has greater resiliency today than it has exhibited for likely well over 100 years.” Id.

¶ 19 (citing the most recent species assessment). Thus, while continued conservation efforts are

vital, the State of Florida is continuing to make progress on recovering panther populations. One

of the primary means of advancing recovery efforts is FWC’s continued practice of obtaining

commitments from Florida permit applicants for mitigation benefitting Florida panther populations

(as shown by the efforts thus far by the agencies in the context of the Bellmar and Kingston

projects).

        B.     Audubon’s Crested Caracara

        Though less known, the Audubon’s crested caracara is also a highly protected species in

Florida.9 This osprey-sized raptor is a boldly-patterned, dark-colored bird that can reach a body

length of approximately two feet. Id. ¶ 30.

        As shown by the FWC and FWS reports prepared in conjunction with the review of the

9
 FWC, Crested Caracara, available at https://myfwc.com/wildlifehabitats/profiles/birds/raptors-
and-vultures/crested-caracara/.


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Bellmar Villages Project, FWC typically seeks to require species avoidance measures and other

actions to minimize the impact of projects on this bird species. For example, in the context of the

Bellmar project, FWC and FWS jointly require that, prior to conducting any clearing activities

within approximately 5,000 feet of any previously documented or newly discovered crested

caracara nest site, the applicant must conduct a survey during nesting season (January 1 through

April 30) to determine if any documented or discovered nest is active. Id. Attach. F at 3-4. This

survey must include potential nesting and foraging habitat within the buffer zone. Likewise, to

minimize the potential for disturbance to nesting caracaras, the permittee must conduct land

clearing activities outside nesting season for areas that occur within the primary zone of any

documented caracara nest site. Restoration activities are also required to ensure that nesting and

foraging areas are put back in place. All such restoration activities must be performed in

consultation with FWS and FWC field staff. And restored areas must be maintained in perpetuity

and managed in a condition that supports use by crested caracara. These and other measures, as

required by FWC and FWS, are designed to protect this species from jeopardy and to enhance

recovery of the species over the long-term. Id. ¶ 31.

IV.    Status Of Bellmar Villages And Kingston Permit Applications

       Movants have targeted two state 404 permit applications for emergency relief out of the

over 9,000 received by FDEP since taking over the 404 program: the Bellmar Villages Project

(DEP Application No. 396364-001) and the Kingston Project (DEP Application No. 423130-001).

As described in detail below, agency review of both applications is still in progress. FDEP has not

yet issued a decision on either permit application.

       A.      Bellmar Villages Project

       As explained in FDEP’s public notice, the Bellmar Villages Project involves construction

of a master-planned mixed-use community in Collier County, Florida. The project encompasses


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an area of approximately 5,000 acres, with impacts to approximately 144 acres of “waters of the

United States.” Approximately 94% of jurisdictional wetlands on the project site will be preserved,

with a “Conservation Area” exceeding 2,570 acres in size. This Conservation Area would be

managed as habitat for listed species in according with a Listed Species Management and Human-

Wildlife Coexistence Plan. Since the majority of the project is currently in active agricultural

operation, the proposed on-site preservation, enhancement, and restoration activities (described in

more detail below) are anticipated to result in a net benefit to the conservation of fish, wildlife,

listed species, and their habitats

        The Bellmar Villages Project has been under review by FDEP since December 28, 2020,

when FDEP received the permit application, which was transferred from the Corps of Engineers

to FDEP. Wolfe Decl. ¶ 33. Soon thereafter, in January 2021, FDEP and FWC both sent the

applicant Requests for Additional Information (RAI). In April 2021, FDEP received applicant’s

RAI Response. Additional RAIs and Responses to RAIs were exchanged throughout 2021 and

2022. The applicant submitted voluminous information concerning the effects of the project on

listed species, including a comprehensive applicant-prepared “Biological Assessment,” with

species habitat maps, impacts analysis, and other species-related documentation. In May 2022,

FDEP received FWC response assessing the project. In August 2022, FDEP issued public notice

for the permit application. Around the same time, FDEP received comments from FWS, and EPA

requested its 90-day period for review of the permit application.

        In September 2022, FDEP received an updated Biological Assessment from the applicant,

along with multiple requests for a public meeting on the project from concerned citizens.

Additional analysis, information, and comments were received from the project applicant, FWS,

FWC, and other stakeholders from November 2022 through November 2023. On November 6,




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2023, FDEP provided another public notice for the project and held a public meeting for this

project on December 7, 2023. FDEP accepted additional comment until December 12, 2023.10

FDEP has been informed that EPA will not complete its review of the Bellmar project before

January 26, 2024. As a result, even if EPA elects to not “comment upon, object to, or make

recommendations” on the Bellmar Project on January 26, 2024, FDEP will not be in a position to

make a final determination on that application before February 5, 2024, at the earliest.

       FDEP understands that the project applicant for Bellmar intends to also submit responses

to comments to help inform FDEP’s decision in this matter. FDEP has not yet received those

responses but would review them before making determinations concerning next steps in the

permit process. FDEP’s potential next steps following the public meeting for the Bellmar project

are outlined in the November 17, 2023 letter to Plaintiffs which has been filed with this Court. The

application otherwise remains under review. FDEP has not determined whether to issue or deny

the permit applications or to take other steps with regard to the processing of the permit

applications at this time.

       As reflected in the permit file,11 the permit applicant for Bellmar would be required to,

among other things, fully fund the construction of five wildlife crossings within the geographic

region in locations designed to provide valuable wildlife movement corridors that will benefit

Florida panthers. Duncan Decl. ¶ 27. They will also be required to make substantial monetary


10
   On December 12, 2023, Plaintiffs also submitted Movants’ declarations (as filed with this
Motion) to FDEP for purposes of the permit review process. FDEP will consider the information
in determining whether to issue, modify, condition or deny a permit for the proposed project. Wolfe
Decl. ¶ 25.
11
   Movants claim counsel for Florida Intervenors described the Bellmar permit process as a “gold
standard of what Florida’s program can do.” Dkt. 135 at 20. That is a mischaracterization. Counsel
simply noted that the “Bellmar project is a good example where [FWS and FWC have] produced
significant reports” concerning “specific take amounts” and “terms and conditions.” Tr. at 115-16
(Oct. 19, 2023).


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contributions to a wildlife conservation fund (Marinelli Panther Protection Fund), which exists to

support panther conservation efforts in South Florida.12 Id. ¶ 28. Physical buffers (such as lakes

and/or fencing) are also required in key project locations, as a means to prevent human encounters

with panthers. Id. ¶ 29. Various other conditions are set forth in the FWC Declaration.

       B.      Kingston Project

       With regard to the Kingston Project,13 FDEP received a Section 404 application for this

project in June 2022, and over the course of July 2022 to October 2023, FDEP sent RAIs to the

applicant and received responses, along with species review reports from FWS on October 26,

2023 and FWC on November 1, 2023. FDEP issued public notice for this project on November

20, 2023, and on December 4, 2023, EPA provided notice of 90-day review period. On December

15, 2023, FDEP scheduled a public meeting for this permit application for January 16, 2024. This

permit application remains under review. FDEP has made no determinations whether to issue or

deny the permit application or to take other steps with regard to the processing of the permit

application at this time. EPA has informed this Court that it would not complete its review of the

Kingston Project before February 9, 2024. Even if EPA elects to not “comment upon, object to, or

make recommendations” on the Kingston Project on February 9, 2024, FDEP will not be in a

position to make a final determination on that application before February 19, 2024, at the earliest.

Florida Intervenors understanding that the project applicant for Kingston intends to also submit


12
  The Marinelli Panther Protection Fund supports activities such as construction of additional
wildlife crossings and fencing, habitat acquisition and restoration, corridor enhancement, public
education and outreach focused on wildlife conservation, and scientific research relevant to species
conservation. Duncan Decl. ¶ 28.
13
   According to the FDEP public notice, the Kingston Project encompasses 6,676 acres, with
impacts to less than 13 acres of “waters of the United States.” To support issuance of a permit, the
project applicant will purchase wetland mitigation credits and create a conservation area exceeding
3,250 acres, while also performing wetland preservation and enhancement activities, as outlined
in the permit records.


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responses to comments to help inform FDEP’s decision in this matter. FDEP has not yet received

those responses but would review them before making determinations concerning next steps in the

permit process. Of course, if EPA does have comments on either or both projects, that will trigger

an additional process for resolving those comments.

       C.       Timing and Nature of FDEP Action on Bellmar and Kingston Applications

       With or without EPA comment, for both projects, there are a variety of paths that could

occur in the weeks and months ahead. For example, Florida could request more information from

the permit applicant; Florida could engage with EPA and the other federal agencies to address new

information received during the comment period; and/or modifications to the project or the permit

could be proposed and considered. Ultimately, FDEP could make a proposed decision to either

deny or grant the permits. Wolfe Decl. ¶ 35.14 Notably, under FDEP’s 404 regulations, FDEP

must determine, among other things, that the proposed project “meets the conditions for issuance

in Rules 62-330.301 [and] 62-330.302 [which are the criteria for the state ERP permits] and 62-

331.053 [which are the specific additional criteria for Florida 404 permits].” Fla. Admin. Code R.

62-331.052.15

       If FDEP eventually approves a permit for either project, FDEP would issue a “Proposed

Permit” first. Id. ¶ 35. The applicant is provided with an opportunity to review the proposed permit

before accepting the permit with all of its terms and conditions. Florida 404 Handbook at 8.3.4.



14
   “FDEP will fully consider and address EPA’s views, permit conditions, and objections when
determining whether to issue the permit, to issue the permit with conditions and/or mitigation, or
to deny the permit.” MOU between FDEP and EPA found at EPA-HQ-OW-2018-0640-0018 at 5
¶ II.A.2.
15
   These criteria are broader than those applicable under the federal 404 program only. FDEP is
prohibited from issuing a 404 permit if the agency does not have “sufficient information to make
a reasonable judgement as to whether the proposed activity will comply with the requirements of
[FDEP’s Section 404 regulations].” Fla. Admin. Code R. 62-331.053(c).


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The Proposed Permit becomes “final” and “effective” when it is signed by both FDEP and the

permit applicant; however, the permit is neither final agency action nor in effect if an

administrative appeal is filed within 21 days of signature. Wolfe Decl. ¶ 35. In other words,

FDEP’s issuance of a permit is not “final agency action” if the Florida administrative appeal

process is triggered. Under that scenario, the administrative hearing process allows for continued

development of the agency record, culminating in a recommended order and eventually a final

decision by FDEP that is then subject to state judicial review. Id. ¶ 36. Presumptively, if Movants

have taken the time to file this Motion in federal court, they (or other similarly interested parties

such as Plaintiffs Florida Wildlife Federation, Conservancy of Southwest Florida and/or Miami

Waterkeeper) will file a request for administrative review to forestall the permit from becoming

final.

                                            ARGUMENT

I.        Movants Seek Emergency Relief Unavailable In This Court.

          As an initial matter, Movants have asked this Court to venture down several paths outside

this Court’s limited jurisdiction. Specifically, this Court lacks jurisdiction over these state permits

for several related reasons, including a lack of jurisdiction to review the claims in the amended

complaint that underlie the Motion; a lack of jurisdiction to impose an injunction upon Florida

Intervenors; a lack of jurisdiction to adjudicate state permit applications, especially state permit

applications that are still in the state permitting process or those that are otherwise subject to state

administrative appeals and state judicial review.

          Movants are not actually seeking preliminary relief for this case. None of the claims cited

in their proposed order as the basis for the requested relief (Claims, 2, 3, 4, 10 or 13) entitle

Movants to enjoin Florida from administering its own 404 permitting program as to specific permit

applications. Instead, Movants are trying to expand the amended complaint at this late stage in the


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litigation (without seeking leave from this Court) to encompass specific state actions not before

this Court. The Motion improperly seeks to enjoin FDEP, a state agency administering a state

program under state law, on the sole basis that agency has, in Movants’ words, “intervened” to

defend the EPA decision to approve Florida’s 404 program. But, this Court does not have

jurisdiction over the state permit applications, and it should not be making determinations on the

merits of particular applications that are still pending before FDEP and not properly before this

Court when the state administrative process and state courts are the proper forum for such

challenges.

       Florida’s intervention in this case, which was for purposes of defending federal approval

of Florida’s program based on the claims in the complaint, does not subject state issued 404 permits

to review in this Court, particularly where the complaint has never been amended to bring any

such claims into this case. Movants have not cited any precedent where a federal court has enjoined

a state agency from even finishing its administrative review process or otherwise reaching a final

decision to issue or deny a state permit under a federally-approved program in this manner.

Movants seek relief that is unprecedented and contrary to D.C. Circuit precedent and precedents

of many other circuits, which have held that there is no private right of action under the Clean

Water Act to challenge permits issued by states in delegated permitting programs in the first

instance.

       In District of Columbia v. Schramm, 631 F.2d 854 (D.C.Cir.1980), the District of Columbia

sought injunctive and declaratory relief against EPA and the state of Maryland related to a NPDES

permit issued by Maryland and reviewed by EPA under a state delegated 402 program allowing

effluent discharges into Rock Creek from a wastewater treatment plant. Id. at 859. The District did

not believe Maryland’s permit terms were sufficiently protective of Rock Creek and sought an




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injunction prohibiting the permitted discharges under the CWA, National Environmental Policy

Act (NEPA) and nuisance. Id. The trial district court denied the injunction, finding that the District

did not show irreparable injury or sufficient public interest. The District appealed and the D.C.

Circuit and largely affirmed the decision with the exception of the trial court’s considerations of

the challenges to the state issued permit, which it instructed to be dismissed for lack of subject

matter jurisdiction. In coming to this decision, the D.C. Circuit focused on Congress’ intent in

creating a statutory framework built on the principle that states have primary responsibility over

water resources: “In authorizing the creation of state NPDES permit programs, Congress made

clear that state permits would be issued ‘under State law (and) would be State, not Federal, actions

….’ 118 Cong. Rec. 33761 (1972), reprinted in 1 Legislative History at 262 (remarks of Rep.

Wright).”16 Id. at 863. “By requiring states to maintain or create sufficient legal and equitable

rights and remedies to deal with violations of state permits in order to exercise permit-granting

powers under the Act, Congress must have intended that states apply their own law in deciding

controversies involving state permits.” Id. Thus, the D.C. Circuit declined to “infer a federal right

of action” and instead held that “state courts are the proper forums for resolving questions about

state NPDES permits, which are, after all, questions of state law.” Id.

       Almost 20 years later, the D.C. Circuit again found that state issued CWA permits should

be challenged in state court. In General Motors Corporation v. Environmental Protection Agency,

168 F.3d 1377 (D.C. Cir. 1999), General Motors filed a petition for review against EPA

16
  The same purpose applies to Section 404 permit programs. “It is the policy of Congress that the
States . . . implement the permit programs under sections [402] and [404].” 33 U.S.C. § 1251(b).
That this creates permit programs under “state law” is even more clear in the 404 “assumption”
context than the 402 “delegation” context. See H.R. Rep. No. 95–830 at 104 (1977) (‘‘The
Conference substitute provides for the administration by a State of its own permit program for the
regulation of the discharge of dredged or fill material. . . . The conferees wish to emphasize that
such a State program is one which is established under State law and which functions in lieu of the
Federal program. It is not a delegation of Federal authority.’’).


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challenging the award of administrative penalties for violations of a NPDES permit issued by the

state of Michigan. Id. at 1379-80. In denying the petition and holding that a state-issued permit

could not be challenged in the context of a federal enforcement proceeding, the D.C. Circuit

explained:

             EPA persuasively argues that it reasonably interpreted the Act to prevent GM
             from doing in a federal enforcement proceeding what the Company had
             declined to do before the MDNR and the Michigan state courts.. . . . Not only
             would the EPA have to expend considerable resources to obtain the information
             from the state agency; it would also be second-guessing that agency, which is
             inconsistent with the primary role of the States under the Act.

Id. at 1382. The D.C. Circuit also cited to Schramm, noting that “the congressional silence on

federal court review of state permits is consistent with the view that challengers to those permits

should be relegated to state law remedies in state courts.” (internal citations omitted). Id. at 1383.

       Other courts have generally agreed with the D.C. Circuit and dismissed federal court

challenges to state issued permits given congressional intent to respect the primary role of states

under the Clean Water Act’s regulatory framework. See e.g., Am. Paper Inst., Inc. v. EPA, 890

F.2d 869 (7th Cir. 1989) (declining to find federal jurisdiction to challenge a state issued CWA

permit and thus dismissing industry petitioners challenge to EPA’s objections to Wisconsin’s state

NPDES permit as an unreviewable discretionary act); Shell Oil Co. v. Train, 585 F.2d 408, 414

(9th Cir. 1978) (explaining that “existence of a state judicial forum for the review of the regional

board’s action forecloses the availability of the federal forum under the [APA]” in affirming

dismissal of permittee’s federal court challenge to state NPDES permit); Rose Acre Farms, Inc. v.

N.C. Dep’t of Env’t & Nat. Res., 131 F. Supp. 3d 496, 507 (E.D.N.C. 2015) (“Here, the court

declines to exercise subject-matter jurisdiction under 28 U.S.C. § 1331 over Rose Acre’s claim

because doing so would upset the congressionally-approved balance of responsibilities between

federal and state courts with respect to the CWA’s NPDES permitting scheme”); Defs. of



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Conewango Creek v. Echo Devs., LLC., No. CIV.A. 06-242 E, 2007 WL 3023927, at *8 (W.D.

Pa. Oct. 12, 2007) (“Whatever the veneer on the counts, assuming Plaintiff is challenging final

Pennsylvania-issued permits, that challenge is properly brought in a Pennsylvania court, with the

state able to defend the permit decision and terms, and not here in federal court.”); Consol. Edison

Co. v. N.Y. State Dep’t of Env’t. Conservation, 726 F. Supp. 1404, 1409 (S.D.N.Y 1989)

(dismissing permittee’s federal court challenge to a state issued permit); Nat. Res. Def. Council,

Inc. v. Outboard Marine Corp., 702 F. Supp. 690, 694 (N.D. Ill. 1988) (direct review of state-

issued permits is confined to state courts); Chesapeake Bay Found., Inc. v. Va. State Water Control

Bd., 495 F. Supp. 1229, 1237 (E.D. Va. 1980) (granting state agency’s motion to dismiss because

claims that the board violated the Federal Water Pollution Control Act were traditionally relegated

to state law and should be addressed at the state level).17

       Thus, the Court can and should deny Movants’ Motion on this basis alone and does not

need to reach the merits of whether Movants have met the incredibly high burden for preliminary

injunctive relief. Movants may attempt to argue that these cases do not involve permit challenges

in the context of a TRO where the underlying federal approval of the state program is being

challenged. But that distinction does not give this Court jurisdiction over state permits, nor have

Movants cited any cases where a federal court issued the kind of extraordinary action Movants

seek here. Plaintiffs cannot conjure up federal-court review for an otherwise-unreviewable state


17
   Counsel found only one court decision recognizing a narrow exception to the rule that federal
courts cannot enjoin issuance of state CWA permits: Friends of Crystal River v. EPA, 794 F. Supp.
674, 678-86 (W.D. Mich. 1992), affirmed by 35 F.3d 1073, 1076-77 (6th Cir. 1994). But that case
is clearly distinguishable on the facts. There, plaintiffs first challenged a proposed 404 permit via
the state administrative process. While that challenge was occurring, EPA objected to, and then
federalized, the permit. EPA then withdrew its objection and attempted to return the permit to the
state for final action. Plaintiffs sued in federal court and the court found that EPA lacked statutory
authority to return a federalized 404 permit to a state. The court enjoined the state from issuing a
404 permit for the project because it was still federalized. That is obviously not the situation here.


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permit merely by labelling it a request for preliminary relief in an underlying APA challenge. This

Court’s jurisdiction—and D.C. Circuit review—cannot be so easily manipulated, particularly

when all of the same reasons federal courts refuse to review state permits apply with full—if not

greater—force in the TRO/PI context. As the D.C. Circuit explained in GMC, precluding collateral

attacks of state-issued permits in federal court “ensures that the States [have] the opportunity as a

threshold matter to address objections to the permits they issue.” Gen. Motors Corp., 168 F.3d at

1382 (recognizing also that the state agency “alone will have the information pertinent to an attack

upon the decisionmaking process”) (internal quotations omitted).

II.    Even If Movants Could Overcome This Identified Jurisdictional Defect, They Cannot
       Meet The High Burden Required For Extraordinary Relief To Enjoin A State Agency
       Administrative Process.

       The primary “purpose of a preliminary injunction is to preserve the object of the

controversy in its then existing condition—to preserve the status quo.” Aamer v. Obama, 742 F.3d

1023, 1043 (D.C. Cir. 2014). Injunctive relief is an “extraordinary and drastic remedy” that “should

never be awarded as of right” Munaf v. Geren, 553 U.S. 674, 689-90 (2008). To receive such an

“extraordinary remedy,” a moving party must carry the burden of persuasion by making a “clear

showing” that the following four factors, taken together, warrant relief: (1) a likelihood of success

on the merits, (2) a likelihood of irreparable harm in the absence of an injunction, (3) that the

balance of equities tips in its favor, and (4) that an injunction is in the public interest. Pursuing

Am.’s Greatness v. FEC, 831 F.3d 500, 505 (D.C. Cir. 2016); Cobell v. Norton, 391 F.3d 251, 258

(D.C. Cir. 2004); see also Winter, 555 U.S. at 20-22.

       A.      Movants’ Are Not Likely To Succeed On The Merits Of The APA Record
               Review Challenge To EPA’s Approval Of Florida’s 404 Program

               1.      Movants’ Attempt To Manufacture Standing In Order To Seek
                       Emergency Relief In Federal Court For A State Permit Application
                       Should Be Rejected.



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       “[T]he merits on which [a] plaintiff must show a likelihood of success encompass not only

substantive theories but also establishment of jurisdiction, including a party’s standing.” W.

Watersheds Project, 468 F. Supp. 3d at 41 (internal quotations and citations omitted). “In the

context of a preliminary injunction motion, [the court] require[s] the plaintiff to show a substantial

likelihood’ of standing under the heightened standard for evaluating a motion for summary

judgment.” Elec. Privacy Info. Ctr. v. Presidential Advisory Comm’n on Election Integrity, 878

F.3d 371, 377 (D.C. Cir. 2017) (internal quotations and citations omitted).

       Movants seek to bypass the state administrative review process on the pending state permit

applications and instead prematurely seek emergency relief in federal court. To do so, Movants

have purposely filed this motion on behalf of only two of the seven Plaintiffs who filed the

amended complaint in an attempt to manufacture a standing injury where there simply is none by

rearguing issues already fully briefed before this Court.

       Like they did in their motion for summary judgment on Claim 2, see Dkt. 98 at 79, the two

moving parties, Center of Biological Diversity and Sierra Club, again assert here that “they face

barriers to challenging state 404 permits because Florida law restricts access to administrative

courts to citizens of the State.” Dkt. 135 at 31. Florida has fully refuted Plaintiffs’ baseless

concerns about the Florida administrative and judicial review processes. Dkt. 102 at 30, 45-47;

Dkt. 107 at 17-20. Here, yet again, Movants ignore that there are three avenues for demonstrating

standing. Their motion only refers to two avenues: environmental groups in Florida with “at least

25 current members residing within the county where the activity is proposed” have automatic

standing to challenge a permitting action (Fla. Stat. § 403.412(6)); and “[i]n a matter pertaining to

a federally delegated or approved program,” like Florida’s Section 404 program, “a citizen of the

state may initiate an administrative proceeding under this subsection if the citizen meets the




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standing requirements for judicial review of a case or controversy pursuant to Article III of the

United States Constitution” (Fla. Stat. § 403.412(7)).

       While those two “liberalized” paths for standing do require – and appropriately so – state

citizenship for standing, the third avenue for standing under the seminal case in Florida known as

Agrico Chem. Co. v. Dep’t of Env’t Regul., 406 So. 2d 478 (Fla. 2d DCA 1981) does not. Under

Agrico, plaintiffs have standing to challenge permitting actions if they can demonstrate that their

“substantial interests” are determined or affected by the action and their interests fall within the

zone of interests of the relevant program. Under the Agrico framework, associations have standing

if a “substantial number of its members, although not necessarily a majority, are substantially

affected’….” Fla. Home Builders Ass’n v. Dep’t of Labor and Emp’t Sec., 412 So. 2d 351, 353-54

(Fla. 1982). Importantly, Agrico creates a two-part test for standing to participate as a “party” in a

chapter 403 permitting process (i.e., a challenge to an FDEP permit). Under Florida law, a “party”

is “[a]ny other person … whose substantial interests will be affected by proposed agency action,

and who makes an appearance as a party.” Fla. Stat. § 120.52(13). Citizenship is not a requirement

to be a party. In turn, nothing under Florida Statute § 120.57 requires citizenship for standing to

be a party if that party otherwise is a “person…whose substantial interests will be affected…”

Florida has made this clear in earlier briefing. FDEP Reply Br. (Dkt. 107 at 20 – “The first and

most traditional path for standing, under the Agrico test, remains available irrespective of state

citizenship. Wolfe Supp. Decl. ¶ 26.”).

       Movants cite two cases for the proposition that a “foreign corporation would not qualify as

a citizen of the State,” and thus, would lack standing to file an administrative appeal of these

permits. Dkt. 135 at 31 (citing Legal Env’t Assistance Found. (LEAF) v. Fla. Dep’t of Env’t Prot.,

702 So.2d 1352, 1353 (Fla. 1st Dist. Ct. App. 1997); McClash v. Manasota-88, Inc., No. 14-4735,




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2015 WL 3966050, at *8 (Fla. Div. Admin. Hr’g June 25, 2015)). Movants’ reliance on these

cases is wrong. Those cases do not stand for the proposition that environmental groups need to be

citizens of Florida to qualify for standing under the Agrico test.

       In LEAF, an Alabama-based environmental group sought standing to intervene under the

“substantial interest test” of Florida Statute Section 120.57 or the “liberalized provisions of section

403.412(5).”18 But in that case, the court expressly stated that “LEAF does not argue that it can

meet the substantial interest test.” 702 So. 2d at 1353. Thus, the court only addressed whether

LEAF could benefit from the “liberalized provisions of section 403.412(5),” but since that avenue

for standing only extends to “citizens,” LEAF could not rely on it. Nothing in the case suggests

that LEAF lacked standing under the “substantial interest” test because it was not a citizen of

Florida; rather, it was because LEAF did not attempt to show “substantial interests” in the

proceeding.

       Likewise, in McClash, the Administrative Law Judge actually found that Sierra Club had

standing based on “substantial interests” under Fla. Stat. ch. 120: “Sierra Club claims associational

standing to intervene under chapter 120. Respondents stipulated that a substantial number of Sierra

Club members have substantial interests in the use of the waters near the project site, but assert

that Sierra Club failed to demonstrate injury to these interests. Sierra Club offered evidence to

prove the interests of its members could be adversely affected by the proposed project. Sierra

Club has standing under chapter 120.” McClash, 2015 WL 3966050, at *8 (emphasis added).

Thus, Sierra Club had standing for purposes of the Agrico avenue for standing. But what they did

not have, according to the ALJ, was “standing to intervene pursuant to section 403.412(5)” because



18
  Note, Florida Statutes Section 403.412(5), as referenced in LEAF, subsequently became Section
403.412(6) after amendments were adopted to this portion of the Florida Statutes.


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“Sierra Club is not a citizen of the state.”19

                2.      Previous Briefing And Oral Argument Show That Movants Are
                        Unlikely To Succeed As To The Merits And Justiciability Of Claims 2,
                        3, 4, 6, 10 And 13.

        Previous briefing on cross-motions for summary judgment both by the Florida Intervenors

and Federal Defendants (which was adopted by the Florida Intervenors), oral argument and

Florida’s post-hearing memorandum demonstrate why Movants are not likely to succeed on the

merits of Claims 2, 3, 4, 6, 10 and 13 related to alleged violations of the ESA. Dkt. 99, 102, 106,

107, 127. Specifically, Florida Intervenors demonstrated that Movants do not have standing for

any of their claims and/or certain species related claims are not ripe. Dkt. 102 at 37-60; Dkt. 10-

30, Dkt. 127-2 (Oral Arg. Demonstrative Summarizing Standing Args.). Notwithstanding

Movants’ justiciability defects, Florida Intervenors and Federal Defendants have fully

demonstrated in their briefs in this case that Movants should also lose on the merits of their ESA

claims (as well as all other claims). Dkt. 99 at 49-50, 62-85; Dkt. 106 at 27-48.

                3.      Movants Are Unlikely To Succeed On The Merits As To Any Remedy
                        That Directly Enjoins Specific State 404 Permit Applications.

        The Movants’ requested relief presumes that the remedy (if they were to actually succeed

on the merits for at least one of their claims) would necessarily include vacatur of EPA’s approval

19
   Florida Intervenors also incorporate by reference their previous responses to Plaintiffs’
reiteration of their specious assertions that Florida’s de novo standard of review in state
proceedings would be more costly than an APA record review case in federal court because they
would have retain experts they otherwise would not need. Dkt. 102 at 46 n.26; Dkt. 107 at 18-19.
Plaintiffs retained several experts in this record review case as evidenced by the declarations they
attached to their motion for preliminary relief.
Similarly, Florida Intervenors also incorporate by reference their previous responses to Plaintiffs’
reiteration of the claim that loss of NEPA documentation from EPA’s approval of Florida 404
program is a cognizable injury. Dkt. 102 at 38-42; Dkt. 107 at 11-16. Simply stated, Congress, not
EPA, decided that state programs are not subject to the NEPA provisions that may trigger
environmental documentation. Id. And more to the assertion of “harm,” Florida Intervenors have
fully demonstrated that Plaintiffs receive the same comparable environmental information under
the Florida-led process than the Corps-led process. Dkt. 102 at 25-27; 37-42; Dkt. 107 at 11-16.


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and therefore cessation of 404 permits issued by FDEP. But this is not the case. No court has ever

vacated federal approval of a state environmental program (choosing instead to remand without

vacatur). See e.g., Idaho Conservation League v. EPA, 820 F. App’x 627, 628 (9th Cir. 2020)

(finding that EPA’s approval of Idaho’s NPDES permit program failed to comply with the Clean

Water Act’s criminal negligence requirements but deciding against vacatur).20 “An inadequately

supported rule, however, need not necessarily be vacated. . . . The decision whether to vacate

depends on ‘the seriousness of the order’s deficiencies (and thus the extent of doubt whether the

agency chose correctly) and the disruptive consequences of an interim change that may itself be

changed.’” Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 150-51 (D.C. Cir.

1993) (internal citation omitted).

       Under the second Allied-Signal prong, courts also consider “public consequences” of

possible equitable remedies. This includes equities involving the parties as well as the “interests

of third parties,” as this Court noted. Dkt. 73 at 48; see also Weinberger v. Romero-Barcelo, 456

U.S. 305, 312 (1982) (reviewing district court’s exercise of equitable discretion in CWA case and

instructing courts to “pay particular regard for the public consequences” of a grant of equitable

relief); Conserve SW. Utah v. U.S.Dep’t of Interior, No. 1:21-cv-01506-ABJ, 2023 WL 792285,

Mem. Op. (D.D.C. Nov. 16, 2023) (denying Federal Defendants’ motion to vacate DOI’s grant of

a right-of-way under the Allied Signal test while granting their motion to remand the decision and

related incidental take permit and biological opinions back to the relevant agencies for

20
  Federal Defendants and Florida Intervenors have explained why this Ninth Circuit decision is
incorrect as to the merits (see, e.g., Dkt. 99 at 56-57), but this case illustrates that even where an
error is found by a reviewing court, vacatur is not the automatic or even likely remedy. Notably, a
federal district court did vacate EPA’s approval of Arizona’s NPDES permit program (the only
such example counsel has located for this proposition), but that decision was reversed by the U.S.
Supreme Court in National Association of Home Builders v. Defenders of Wildlife, 551 U.S. 644
(2007), where the Supreme Court clarified when Section 7 consultation should be triggered for
purposes of EPA’s approval of state environmental programs.


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reconsideration). Depending on how this Court rules on the pending summary judgment motions,

the parties will need to address complex issues around appropriate remedies. In fact, Plaintiffs

themselves asked this Court to forego ruling on remedy until after summary judgment rulings were

issued. Dkt. 98 at 15 n.2 (“Plaintiffs respectfully request the opportunity to brief the appropriate

remedy following the Court’s ruling on summary judgment.”) (emphasis added). It would be highly

premature to block the issuance of state permits without first determining whether that form of

drastic relief is likely to be appropriate and available as the remedy at the culmination of this case.21

Movants have not shown (nor could they show) that are likely to succeed on the merits as to the

substance and the selection of a remedy that directly targets specific Florida 404 permit

applications.22

        B. Movants Will Not Suffer Irreparable Harm From Denial Of The TRO And PI

        The “basis of injunctive relief in the federal courts has always been irreparable harm.” A

plaintiff seeking injunctive relief must “demonstrate that irreparable injury is likely in the absence

of an injunction.” Winter, 555 U.S. at 22. “Issuing a preliminary injunction based only on a



21
   Movants also present an “alternative” injunction where the Court issues an “order restoring
authority to the Corps over permits that may affect ESA species” pending a decision by the Court
on the merits “while the parties further brief remedy regarding vacatur of the programmatic BiOp,
programmatic ITS, and EPA’s approval of the State 404 program.” Dkt. 135 at 42. This
“alternative” is tantamount to partial vacatur and therefore is improper for all reasons just
discussed. Moreover, it is significantly broader than their preferred injunction, as it would apply
to any Florida 404 permit that “may affect ESA species.” That would likely cover hundreds of
applications, including many where the "may affect" finding does not include "likely to adversely
affect" situations or otherwise implicate any potential for jeopardy or adverse modification of
critical habitat. As such, it is not narrowly tailored and inappropriate relief, even preliminarily.
22
   Even if this Court found a legal deficiency with the BiOp and/or ITS accompanying EPA’s
approval of Florida’s 404 program, the remedy for any such outcome would not be directed at the
issuance of particular permits; instead, those issued permits may not be able to rely on the
protection afforded by the BiOp/ITS for purposes of defense against possible future claims based
on incidental take. To the extent permittees engage in conduct that results in take of species that is
not authorized by the ESA, federal enforcement and/or citizen suits could be brought.


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possibility of irreparable harm is inconsistent with our characterization of injunctive relief as an

extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is entitled

to such relief.” Id. (emphasis added). The D.C. Circuit “has set a high standard for irreparable

injury.” Chaplaincy of Full Gospel Churches v. Eng., 454 F.3d 290, 297 (D.C. Cir. 2006) “First,

the injury ‘must be both certain and great; it must be actual and not theoretical. . . The moving

party must show [t]he injury complained of is of such imminence that there is a clear and present

need for equitable relief to prevent irreparable harm, Second, the injury must be beyond

remediation.” Id. (internal quotations omitted). “A movant’s failure to show any irreparable harm

is therefore grounds for refusing to issue a preliminary injunction, even if the other three factors

entering the calculus merit such relief.” Id. (internal citation omitted).

               1.      Since The State Permitting Process Is Not Yet Complete, There Is No
                       Imminent Threat Of Irreparable Harm.

       Throughout their motion, Movants assert that the Bellmar Villages and Kingston permits

will irreparably harm the Florida panther and/or crested caracara. Dkt. 135 at 12-21, 25-38.

Movants claims of “imminent issuance” of permits for both projects and its declarations are

focused on alleged impacts to species if the projects are implemented as currently proposed.

However, what Movants omit from their factual and legal arguments is that the state 404 permit

application process for these two projects has not yet been completed. The applications are still

open for public comment and EPA had indicated that it is also reviewing both applications under

its oversight authority pursuant the CWA and MOU. Wolfe Decl. ¶ 32.

       As Mr. Wolfe’s fourth declaration makes clear, FDEP must still review the public

comments received as well as address any comments from EPA and determine if additional

information is needed before deciding whether to issue, modify, or deny the proposed permit. Id.

¶ 25. EPA also has the option to take over the permitting process if it lodges objections that FDEP



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has not satisfactorily resolved. 33 U.S.C. § 1344(j); 40 C.F.R. §§ 233.20(b), 233.50. Movants have

not (and cannot) provide evidence that FDEP intends to bypass its own regulatory process and

issue the proposed permits in their current form, let alone issue them in violation of the obligation

to not “jeopardize” the continued existence of these species or adversely modify designated critical

habitat. Thus, Movants’ claimed harms are only theoretical at this point and may never occur

depending on how FDEP proceeds with the permit applications.

       Again, FDEP’s regulations expressly provide that no Section 404 permit will be issued

when the project “[j]eopardizes the continued existence of endangered or threatened species, or

results in the likelihood of destruction or adverse modification of [designated critical] habitat…”

Fla. Admin. Code R. 62-331.053(3)(a)4. Compliance is also “required” for “any requirements

resulting from consultation with, or technical assistance by,” FWC, FWS, and NMFS “for permits

reviewed under the State 404 Program,” which, as already explained, utilizes the same federal

agency offices reviewing the same information using the same standards for the same purposes as

under the Corps-led program. This includes the obligation, as set forth in the Programmatic

Biological Opinion, to use the best available data when making species-related determinations. If

FWS and FDEP reach the same final conclusion that the activities allowed by a potential permit

will “jeopardize the continued existence of a species,” and no protection measures are available to

address the adverse impacts, the permit would not be issued pursuant to the ESA and Fla. Admin.

Code R. 62-33.053(3)(a) 4, 62-331.201(3)(k), and 62-331.248(3)(j). If they find that protection

measures are available to address those impacts such that a permit may be issued, project

opponents are able to obtain review of that determination in the state administrative and judicial

forums. Thus, Movants’ attempts to tie their claims of irreparable harm to the Technical Assistance

Process does not help their Motion, as the claimed “harm” is directly linked to the yet-to-be issued




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permits. 23 Unless and until final permits are issued for the Bellmar Villages and/or Kingston

projects with terms that jeopardize the continued existence of listed species or adversely modify

designated critical habitat, there is no threat of imminent harm sufficient for a preliminary

injunction. If such a situation occurs in the future, then either state permit can be challenged

administratively (which results in an automatic stay of final agency action on the permit)24 and

judicially in Florida as described in detail in Florida Intervenors’ previous briefing. Dkt. 102 at

29-36.

                2.     Movants’ Three Year Delay In Filing Its Request For Preliminary
                       Injunctive Relief Undercuts Their Claims Of Irreparable Injury

         Plaintiffs’ actions in this case also belies Movant’s claim of immediate irreparable harm,

which they have asserted from the beginning of this case but then only two Plaintiffs waited three

years to request preliminary relief to address. See, e.g., W. Watersheds Project, 468 F. Supp. 3d

at 50 (finding plaintiffs “unexplained delays” in seeking emergency relief to enjoin the April 2019

Biological Opinion almost 11 months after issuance in May 2020 “undermine [plaintiffs’]

contention that they will be irreparably harmed absent an injunction”); Defs. of Conewango Creek,


23
   Florida Intervenors have already cross-moved for summary judgment on species related Claims
3, 4, 5, 11 and 12 on several bases, including that those claims are not yet ripe. Dkt. 102 at 51-55;
Dkt. 107 at 25-30. Movants’ lack of irreparable harm with respect to the Bellmar and Kingston
permit applications also show precisely why Movants’ claims are not ripe. Movants’ irreparable
harm is tied directly to issuance of specific state issued permits, not FWS’s Biological Opinion or
the Technical Assistance Process which are at the heart of the species-related claims in Plaintiffs’
Amended Complaint.
24
  When a petition for administrative hearing is filed, FDEP has a standard practice of sending a
form letter to the permit applicant advising that FDEP has “received a petition for administrative
hearing under Sections 120.569 and 120.57, Florida Statutes, challenging the Department's
permitting decision.” Wolfe Decl. ¶ 36. The letter explains that “action on this matter is proposed
agency action only, and no permit has been issued” and, accordingly, “no action may be taken
based on the above permit application, until the Department enters a Final Order either issuing or
denying the above permit...” FDEP also reminds the applicant that they “must demonstrate prima
facie entitlement to the permit issuance in any administrative hearing held under the filing of the
petition.” Id.


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2007 WL 3023927 (finding delays in seeking preliminary relief to enjoin discharges under a state

issued NPDES permit that allegedly impacted a listed species undercut assertions of irreparable

harm); Sierra Club v. U.S. Army Corps of Eng’rs, 2005 U.S. Dist. LEXIS 36385, *60-61 (D.N.J.

2005) (“Plaintiffs’ delay in moving for preliminary injunctive relief undermines their claim of

irreparable injury.”); Tough Traveler, Ltd. v. Outbound Prods., 60 F.3d 964, 968 (2d Cir. 1995)

(“[F]ailure to act sooner undercuts the sense of urgency that ordinarily accompanies a motion for

preliminary relief and suggest that there is, is fact, no irreparable injury.”) (internal citations and

quotations omitted); Kobell v. Suburban Lines, 731 F.2d 1076, 1091 n.27 (3d Cir. 1984) (“the

district court may legitimately think it suspicious that the party who asks to preserve the status quo

through interim injunctive relief has allowed the status quo to change through unexplained

delay.”).25

        What is obvious from their motion is that Movants believe that the potential source of

irreparable harm is from specific state issued 404 permits (which their Amended Complaint does

not address), not the FWS’s Programmatic Biological Opinion or the Technical Assistance

Process. Because the standard applied by FWS to review a proposed state permit issued under the

404 permitting program for Florida approved by EPA is the same or more rigorous than a proposed

Corp permit, there is no basis to assert irreparable harm from either the Biological Opinion or

Technical Assistance Process as set forth in detail in the next section.




25
   Others have tried Movants’ tactic and failed. See, e.g., Am. Forest Res. Council v. Williams, No.
21-601, 2021 WL 4819846, at *4 (D.D.C. Oct. 13, 2021) (“[P]laintiffs’ delay in seeking interim
relief from this Court is highly indicative of the fact that plaintiffs do not in fact face the kind of
harm warranting a preliminary injunction. . . Faced with plaintiffs’ delay and their ultimate
inability to point to a concrete, imminent harm from the challenged rules, it is difficult to not view
this request for extraordinary relief as anything more than a procedural ploy to have the Court
adjudicate their pending summary judgment claims more expeditiously.”).


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               3.      Since The State 404 Permitting Process Has The Same Or More
                       Rigorous Species Requirements Than The Federal Permitting Process,
                       There Is No Threat Of Irreparable Harm.

       Movants’ requested relief is premised on the notion that FDEP will issue Section 404

permits for these two projects that are less protective of species than permits resulting from the

Corps-led 404 process such that the Florida panther and other species will be better protected from

“irreparable harm” that Movants believe will occur absent extraordinary intervention by this Court.

Yet, as already explained, the Florida-led 404 process ensures that the same FWS offices review

the same species-related information using the same legal standards and provide the same

incidental take measures as would apply in the Corps-led program. See Ex. C.

       A comparison of the two programs clearly shows that the Florida-led process ensures even

more protection for species and even more public involvement than the Corps-led process for at

least three reasons:

           a) FDEP must incorporate all FWS measures, terms, and conditions into the
              Section 404 permit (whereas the Corps may do so for their permits);

           b) FDEP must deny a permit if FWS, NMFS, or FWC finds no protection
              measures are available to reduce the risk of jeopardy to an acceptable level
              (whereas the Corps may decide to issue a permit in such circumstances);
              and

           c) the public has full access to review and comment on all species-related
              information before FDEP makes a final determination on the permit, which
              allows for FDEP, EPA, and the permit applicant to consider and respond to
              those concerns including with project and/or permit changes as warranted
              (whereas there is no right of public review and comment on the Biological
              Opinion/ITS under the Corps-led process).

Stated simply, while Movants seek to restore the Corps-led 404 program for these two permits,

Movants cannot show that they will succeed on the merits in obtaining relief that avoids or changes

the “irreparable harm” they assert will occur. This is fatal to their motion. Clearly, if the Corps had

continued to process these two permits instead of Florida or was to begin processing them now,



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the same permits would have been, or would be now, issued with the terms and conditions that are

just as protective of species. Movants have not and cannot show otherwise.

        In particular, Movants complain that the species reviews for these two projects have been

inadequate because, among other things, FWS failed to ensure that the projects would not

jeopardize the continued existence of the Florida panther and other species. See e.g., Dkt. 135 at

30-34. For example, Movants argue that FWS failed to consider the cumulative effects of the

project on the Florida panther, Dkt. 135 at 29-30, and that FWS was imposing inadequate

incidental take measures, id. at 31. But on all of those points, the outcome of the Corps-led process

would be no less protective of species than the Florida-led process.26 A decision in recent weeks

out of the U.S. District Court for the Middle District of Florida, in a lawsuit filed by Sierra Club

(one of the Movants here using the same legal counsel representing Plaintiffs in this case),

illustrates this point.

        On November 1, 2023, the Middle District of Florida issued an order granting summary

judgment for the Corps and FWS in a lawsuit by environmental groups challenging the Corps’

Section 404 permit authorizing a three-mile expansion of a state road in Florida. See Sierra Club

v. U.S. Fish & Wildlife Serv., No. 2:20-CV-13-SPC-NPM, 2023 WL 7188933, (M.D. Fla. Nov. 1,

2023). Because the project would cross through habitat for the Florida panther, the Corps consulted

with FWS before issuing the Section 404 permit. FWS issued a 21-page biological opinion dated

June 2020 finding that the road project is unlikely to jeopardize the continued existence of the



26
  Movants erroneously claim that FWS’s “permit conditions express no limit on that take” of
Florida panther and crested caracara. Dkt. 135 at 11. The ESA regulations require FWS to
“specif[y] the impacts, i.e., the amount or extent, of such incidental taking on the species,” noting
that a “surrogate” such as “similarly affected species or habitat or ecological conditions” “may be
used.” 50 C.F.R. § 402.14(i)(1)(i). FWS and FWC have specified the amount or extent of take. See
Duncan Decl. ¶ 26 Attach. F, FWS Report for Bellmar at 8, 16; ¶ 34 Attach. I, FWS Report for
Kingston at 8, 21-22.


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panther.

       Counsel for Movants filed a lawsuit in the Middle District of Florida challenging the

Section 404 permit, raising a long list of reasons why the species reviews conducted by the Corps

and FWS for the road project were inadequate. The federal district court rejected all of the

Plaintiffs’ arguments, granting summary judgment in favor of the agencies and dismissing the

case. Among other things, the court found that FWS adequately evaluated the environmental

baseline for the project area, the effects of the project, and the cumulative effects on the

panther. The court also rejected the groups’ argument that using “habitat loss” as a surrogate to

monitor incidental take rather than set a numerical take limit violated the ESA. The court found

that FWS adequately explained why setting a numerical take is not practical and described the

causal link between the surrogate metric and take. The court further found that the habitat loss

surrogate provides a clear means for determining when anticipated take has been exceeded. In

reaching these conclusions, the Middle District of Florida acknowledged that “[s]everal courts” in

Florida had been called upon to address cases involving similar concerns about the Florida panther,

noting that “the Court must exercise ‘substantial deference’ to the [FWS’s] decision on ‘how much

data is necessary to fully address each [species-related] issue.” Id. at *7 (citing Sierra Club v. Van

Antwerp, 526 F.3d 1353, 1361 (11th Cir. 2008)).

       Of course, these are precisely the same kinds of arguments that Movants are pressing in

this case about alleged inadequacies of species protections arising out of the Florida-led process.

At root, Movants object to FWS’s approach to reviewing impacts to the Florida panther, but that

only reinforces the fact that Movants experience no “irreparable harm” from the continued




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administration of the Florida-led process relative to the Corps-led 404 process.27 Indeed, Movants

are equally unhappy with either the Corps or Florida issuing any Section 404 permits effecting

panther habitat at all.

        Notably, a comparison of the biological opinion for the project reviewed by the Middle

District of Florida aligns with the species review documentation prepared for the two projects at

issue in this Motion. For the Bellmar project, the publicly accessible FDEP permit file contains

the FWS Technical Assistance Process Response report. See Duncan Decl., Attach. F. As shown

in that response, FWS is participating in the species review process (which remains ongoing) and

has been conducting an in-depth review whether the project has “adequate protection measures to

avoid and minimize any incidental take that is reasonably certain to occur.” Id. at 2. As such, FWS

provided a list of “necessary avoidance and minimization measures” that FDEP must adopt in

order to “ensure that the permitted activity is not likely to jeopardize any species, adversely modify

or destroy critical habitat or to ensure that any incidental take is avoided or minimized.” Id.

        This included measures for species and critical habitat that are likely to be adversely

affected by the project, including the Florida panther, the Florida bonneted bat, Audubon’s crested

caracara, and the tricolored bat. Id. Attach. F. Among other measures, FWS requires construction

of wildlife crossings within the geographic region for the benefit of the Florida panther to provide

and preserve a wildlife movement corridor. Pages 6 to 24 of the FWS response provides analysis

of the action area, status of species, effects of the action, cumulative effects, amount of take

(including numeric estimates), and jeopardy assessment. FWS determined that, “[u]pon FDEP’s

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   Movants have not pled that the outcome of the species review process under the Corps-led permit
program would be any different in terms of protection of species. That is fatal to the requested
relief in the Motion. See Marino v. Nat. Oceanic & Atmos. Admin., 33 F.4th 593, 596-98 (D.C.
Cir. 2022) (explaining that “redressability is established” only “where a remand would likely result
in a favorable exercise of agency discretion,” which requires that the plaintiff “plausibly plead that
relief is indeed likely”)).


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incorporation of the necessary avoidance and minimization measures as permit conditions,” the

“issuance of the State 404 permit is not likely to jeopardize any federally listed species or adversely

modify or destroy any critical habitat…” Id. Attach. F at 25. FWS based this opinion “on the

information in the permit application, as well as the status of the affected species, and any

cumulative effects within the permit applications’ action area.” The final 10 pages of the FWS

response contains a set of “Special Conditions” and “Additional Commitments.” A voluminous

set of other documents in the FDEP Information Portal file also address species impacts issues.

Wolfe Decl. ¶ 44; Duncan Decl. Attach. F. The volume of species-related information available to

the public for review and comment as part of the ongoing Florida 404 permitting process for the

Bellmar Project exceeds the volume of information available for review for the biological opinion

reviewed by the Middle District of Florida. The same is true for the Kingston project. Wolfe Decl.

¶ 44; Duncan Decl. ¶ 36.

       Ironically, because they cannot truly show a lack of comparability of species protections

between the Corps-led and Florida-led 404 processes, the ultimate grounds for Movants’ asserted

harm is the lack of a “site-specific BiOp that is clearly reviewable in federal court to enforce the

guarantees of the ESA.” Dkt. 135 at 31 (emphasis added). But the record here provides voluminous

species-related documentation along with the opinion of FWS as to the effects of these two

projects. As such, there is no actual lack of a “site specific” biological opinion; in reality, FWS has

provided its biological “opinion” to FDEP in comparable form and content to the “site-specific

BiOp” Movants demand. Movants’ point here is the ultimate “form over substance.”

       Concerning whether the substance of the FWS’s species decision is “reviewable in federal

court,” Movants are careful to hedge their bets. Dkt. 135 at 8 (criticizing the lack of a biological

opinion that is “clearly susceptible to challenge in federal court” (emphasis added)). Whether




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FWS’s report and participation in the Technical Assistance Process are subject to challenge in

federal court appears to be a question of first impression. But setting that aside, the terms and

conditions in a final permit issued by FDEP would certainly be reviewable in state administrative

and judicial forums, which is an adequate remedy at law. The state administrative and judicial

review processes provide an avenue to vindicate Movants’ concerns with the permit, including

objections to terms and conditions related to species protection and claims that the permit fails to

meet the criteria and requirements established as part of the Florida Section 404 Program.

       C.      Balance Of Equities And The Public Interest Do Not Favor Emergency Relief

       In determining whether to grant a preliminary injunction, “courts must balance the

competing claims of injury and must consider the effect on each party of the granting or

withholding of the requested relief.” Winter, 555 U.S. at 24 (quoting Amoco Prod. Co. v. Gambell,

480 U.S. 531, 542 (1987)). “In exercising their sound discretion, courts . . . should [also] pay

particular regard for the public consequences in employing the extraordinary remedy of

injunction.” Id. (quoting Weinberger, 456 U.S. at 312). “These factors merge when the

Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

       The public consequences of granting the requested relief far outweigh the Movants’ narrow

interest in obtaining it. Here, there are two federal statutes at issue, the CWA and the ESA, with

clear congressional intent that may appear inapposite, but in the context of the facts of this case

actually are not. As detailed in Florida Intervenors’ first argument, supra at I., Congress made

clear that cooperative federalism is at the heart of the CWA, which is why Congress designed its

key permit programs to be implemented and enforced by states in state courts. States like Florida,

as well as the regulated public, have a strong interest in regulatory certainty, including that

federally-approved state CWA permit programs will be administered in the normal course by those

states. Granting the requested relief would: severely undermine Florida’s ongoing implementation


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of its CWA 404 program by reducing the administrative efficiency Congress created through

cooperative federalism, delay or deprive the public of the environmental protections benefits of

Florida’s 404 program, as well as create public confusion and uncertainty regarding the permitting

process. Wolfe Decl. ¶ 51. An injunction here, even if limited to just two projects, would likely

have a severe chilling effect on the entire FDEP Section 404 permit program, potentially causing

regulatory chaos with permit applicants lacking certainty as to whether FDEP could continue

processing their applications or whether their applications, if granted, could be lawfully relied

upon. Wolfe Decl. ¶ 50.

       FDEP has hired and trained hundreds of employees to serve as Section 404 permitting staff,

who have collectively spent hundreds of hours over the course of three years working on the review

of these two permit applications. FDEP staff have held public meetings and reviewed extensive

comments from a wide range of stakeholders, including other agencies (federal, state and local)

and the public. FDEP has conducted public meetings and developed extensive analysis of the

various issues relevant to a determination on these permit applications. The applicants themselves

had expended significant resources and time in submitting permit applications and responding to

additional FDEP requests for information.

       In contrast, as detailed above, there is no threat of irreparable harm to listed species as

FDEP has not yet made a decision on either the Bellmar or Kingston permit application or the

terms of final permits, if issued. Moreover, even if permits were to be issued that may impact listed

species, those permits can be challenged through both state administrative and judicial

proceedings, which as explained above are more favorable than federal court to a challenger’s

concerns as an administrative appeal automatically prevents a permit from being finalized and

there is no deference to the agency’s decision under state law. Finally, there is no evidence that




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the Technical Assistance Process itself leads to less protection for listed species. In fact, the

opposite is true as detailed supra at II.C. The Florida Section 404 process ensures that the same

agencies review the same species-related information using the same legal standards as in the

Corps-led 404 program, and FDEP is required to adopt any species-related measures provided by

FWS.

                                           CONCLUSION

          For the foregoing reasons, Florida Intervenors respectfully request denial of Movants’

motion for a temporary restraining order and preliminary injunction.28


Dated: January 12, 2024                                Respectfully submitted,
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     Florida Intervenors take no position on whether this Court should set a bond.


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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of January 2024, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.


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